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                           UNITED STATES DISTRICT COURT FOR THE
                             NORTHERN DISTRICT OF OKLAHOMA

   LESLIE FARMER, an individual,           )
                                           )
             Plaintiff,                    )
                                           )
   v.                                      )              Case No.: 16-cv-374-GKF-FHM
                                           )
   PROGRESSIVE NORTHERN INSURANCE )
   COMPANY, a foreign for profit business, )
                                           )
             Defendant.                    )

                                     NOTICE OF SETTLEMENT

          Defendant, Progressive Northern Insurance Company (“Progressive”), advises the Court that

   the above-referenced litigation recently settled in its entirety. As a result, Progressive submits this

   Notice of Settlement. Furthermore, Progressive requests that a 60 day Administrative Closing Order

   be entered for the reasons set forth below.

          As this Court is aware, a Settlement Conference took place on January 17, 2017. The parties

   were unable to resolve the matter at the Settlement Conference. However, as reflected on the

   Settlement Conference Report [DKT. NO. 34], settlement negotiations continued thereafter. Due to

   the efforts of Adjunct Settlement Judge Tom R. Hillis, the parties were able to reach a settlement

   agreement on February 9, 2017.

          As a result of the automobile accident giving rise to this litigation, Plaintiff alleges she has

   incurred in excess of $50,000.00 in medical bills. Counsel for Plaintiff is currently in negotiations

   with the medical providers in an effort to reduce the medical bills below the agreed upon settlement

   between Plaintiff and Progressive. It is anticipated that those negotiations will be concluded within

   60 days. As a result, Progressive respectfully requests this Court enter an Administrative Closing

   Order allowing a Stipulation of Dismissal With Prejudice to be filed at the conclusion of 60 days.
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          The Pretrial Conference is currently set for December 5, 2017. The trial is currently set for

   December 18, 2017. As a result, no pending deadlines will be effected. Of course, the parties also

   respectfully request that Progressive’s Motion to Certify Question be deemed moot due to settlement.

          WHEREFORE, Progressive requests the Court enter a 60 day Administrative Closing Order

   allowing the parties to file a Stipulation of Dismissal With Prejudice on or before May 31, 2017.

                                                         Respectfully submitted,


                                                         s/ Brad L. Roberson
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                                                         Erin J. Rooney, OBA No. 31207
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                                                         ATTORNEYS FOR DEFENDANT

                                    CERTIFICATE OF SERVICE

           I hereby certify that on March 1, 2017, I electronically transmitted the attached document to
   the Clerk of Court using the ECF System for filing. Based on the records currently on file, the Clerk
   of Court will transmit a Notice of Electronic Filing to the following ECF registrants:

          Amber Peckio Garrett, Esquire

                                                         s/ Brad L. Roberson
                                                         For the Firm




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